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                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                            BECKLEY DIVISION


DAVID M. DAUGHERTY,

                                    Plaintiff,

v.                                                             CIVIL ACTION NO. 5:14-cv-24506

OCWEN LOAN SERVICING, LLC,

                                    Defendant.



                                            JUDGMENT ORDER


         On July 26, 2017, the United States Court of Appeals for the Fourth Circuit entered its

Opinion (Document 271) regarding the Defendant’s appeal in the above-styled action. That Court

affirmed the jury’s determination of willfulness and award of compensatory damages, but reversed

the punitive damages award. The Court of Appeals remanded the matter to this Court with an

order to provide the Plaintiff the option of accepting a punitive damages award in the amount of

$600,000 or proceeding to a new trial on punitive damages. Its Mandate1 (Document 275) was

entered on August 17, 2017.

         On August 18, 2017, and in response to the Court of Appeals’ opinion, the Plaintiff filed

Plaintiff’s Notice of Election to Accept the Punitive Damages Award of $600,000 and Motion for

Leave to Seek Appellate Attorneys’ Fees (Document 274). In his notice, the Plaintiff asserted his




1 Although the Fourth Circuit filed its mandate on August 17, 2017, it was not entered onto the CM/ECF docket
sheet until August 21, 2017, and is therefore numbered after the Plaintiff’s notice to accept the Fourth Circuit’s
suggested punitive damages award.
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acceptance of the punitive damages award of $600,000, and also moved this Court for leave to file

a motion to recover appellate attorneys’ fees.

       Having reviewed the opinion from the United States Court of Appeals for the Fourth

Circuit and the Plaintiff’s Notice, the Court alters its previous judgment as to punitive damages

and ORDERS that judgment be entered in favor of the Plaintiff and against the Defendant in the

amount of $600,000. The Court further ORDERS that the Plaintiff’s motion for leave to seek

appellate attorneys’ fees be GRANTED and that any such motion and supporting documentation

be filed no later than September 18, 2017. Any objection or response thereto shall be filed by

October 2, 2017. Finally, the Court ORDERS that the Plaintiff’s Motion for Order Directing J.P.

Morgan Chase Bank, N.A. to Pay Monies in Satisfaction of Judgment Pursuant to West Virginia

Code § 38-5-15 (Document 260) be TERMINATED AS MOOT.

       The Court DIRECTS the Clerk to send a copy of this Order to counsel of record and to

any unrepresented party.

                                             ENTER:        August 28, 2017
